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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                §
Plaintiff,                              §
                                        §
V.                                      § CRIMINAL NO: 1:21-CR-00054-TSC
                                        §
                                        §
MATTHEW CARL MAZZOCCO                   §
Defendant.                              §

                          NOTICE OF APPEARANCE

TO THE HONORABLE UNITED STATES JUDGE FOR THE DISTRICT OF
COLUMBIA:

      Please enter my appearance as Lead Counsel in said case for Defendant,

MATTHEW CARL MAZZOCCO.

      I certify that I am admitted to practice in the District of Columbia for the

abovementioned cause.

SIGNED this the 7TH day of MAY 2021.

                                        Respectfully submitted


                                        ROBBIE WARD
                                        SBN: 24033435
                                        530 Lexington Ave
                                        San Antonio, Texas 78215
                                        Tel: (210) 758-2200


                                                /s/
                                        ROBBIE WARD




                         CERTIFICATE OF SERVICE
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   I do hereby certify that a true and correct copy of the foregoing Notice of Appearance

was electronically filed with the Clerk of this Honorable Court using the CM/ECF system

which will send notification electronically to KIMBERLEY NIELSEN, Assistant United

States Attorney.

SIGNED on this the 7TH day of MAY 2021.

                                                    /s/
                                            ROBBIE WARD
